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UNITED STATES DISTRTCT COURT _
CENTRAL DISTRICI' 0F CALIFORNIA

 

PATRICK CLEMONS,
Plaintiff,

v.

DOES 1 to 10, inclusive,

Defmdam.

 

CREDI'I`CR‘S SPECIALTY SERVICBS; and

Gase No.: 5:14-ev»80047-VAP-SP

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NO:!I§E OF SE'I”I'LEMEE:!:
NOTICE IS HEREBY GWEN fhax the parties in the above-captioned case have reached a

:s¢:ttl¢zrru:ntl 'I`he Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal ofthis action with prejudice pursuantto FED. R.. CIV. P. 41{3.) within 60 days. The

Plaintiffrcquesm that the Court clear the calendar in the interim pending full performance on the

settlement terms and subseun filing of the aforemendoned dismissaL

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